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DEFENDANT:          TEAK TY BROCKBANK

AGE/YOB:            45/1979

COMPLAINT          ___X____ Yes        _______ No
FILED?
                    24-mj-00143-KAS

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                    __X__ Yes        ____ No


OFFENSE(S):         Count 1: 18 U.S.C. § 875(c) – Threats in Interstate Commerce

LOCATION OF         Denver County, Colorado
OFFENSE:

PENALTY:            Count 1: NMT 5 years’ imprisonment; NMT $250,000 fine, or both;
                    NMT 3 years’ supervised release; $100 Special Assessment.

AGENT:              Special Agent Amy Meyer, FBI

AUTHORIZED          Cyrus Y. Chung
BY:                 Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

   X     five days or less; ___ over five days

THE GOVERNMENT:

   X     will seek detention in this case based on 18 U.S.C. § 3142(f)(1) and/or (f)(2).

_______ will not seek detention

The statutory presumption of detention is not applicable to this defendant.
